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                           Exhibit 12:
              Richard Stapleton Expert Report
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               EXPERT REPORT OF RICHARD B. STAPLETON

I have been asked to compare Michigan’s parole and probation supervision
processes to the requirements of the Michigan Sex Offenders Registration Act,
M.C.L. § 28.721 et seq.

   I. Background, Education, and Qualifications

   1. I was Administrator of the Michigan Department of Corrections Office
   (MDOC) of Legal Affairs (formerly the Office of Policy and Hearings)
   beginning in 1999 until my retirement in June 2011. As chief legal counsel for
   the MDOC, I was responsible for development of all policy directives and for
   coordination of all policy decisions with the MDOC’s Executive Policy Team
   and the Department of Attorney General. I was the chairperson of the MDOC’s
   Policy Review Committee and responsible for the promulgation of all
   administrative rules, policy directives and Director’s Office Memoranda in
   accordance with MDOC policy. I was also responsible for management of the
   overall prisoner disciplinary process within the MDOC; for the direction and
   supervision of formal administrative disciplinary hearings in correctional
   facilities pursuant to the Corrections Hearings Act (M.C.L. § 791.251, et seq.);
   and for the administrative management of the litigation, prisoner grievance,
   internal audit, and FOIA sections within the Office of Legal Affairs.

   2. During my tenure as the MDOC Legal Affairs Administrator, I was the
   chairperson of the Department’s Resource Team between 2003 and 2010. The
   Resource Team was a committee of high-level administrative staff that
   strategically planned and managed the development of the Michigan Prisoner
   Reentry Initiative (MPRI). The Resource Team coordinated the
   implementation of a comprehensive evidence-based reentry model that was
   recognized nationally for increasing parole rates and reducing recidivism by
   33% for parolees who were released through MPRI. In 2010, under the
   direction of the Resource Team the MDOC contracted with the Center for
   Effective Public Policy to conduct a review of policies and practices for
   treatment of sex offenders under the department’s supervision. Their
   recommendations were resulted in the development of the Michigan Sex
   Offender Program, a collaborative treatment approach to the management of
   sex offenders.

   3. Since retirement in 2011, I have been engaged as an expert witness in
   consulting and testifying on corrections issues in federal and state courts. I

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   have participated on the Board of Directors with organizations concerned with
   sentencing and incarceration issues, including Safe and Just Michigan (formerly
   Citizens Alliance on Prisons and Public Spending), a non-profit public policy
   organization concerned with evidence-based correctional practices, and with
   NorthWest Initiative in Lansing, which through its ARRO program (Advocacy,
   Re-entry, Resources, and Outreach), assists ex-offenders transition back to their
   communities. Although I am no longer working at the MDOC on a day-to-day
   basis, I keep up to date on its policies and practices through my work at Safe
   and Just Michigan and the NorthWest Initiative, as well as through my personal
   connections with former colleagues.

   4. I have a Juris Doctor degree from Michigan State University College of Law
   (1986) and a Bachelor of Science in Criminal Justice from Wayne State
   University (1977). I am an emeritus member of the State Bar of Michigan,
   retiring in 2016 after 30 years as a member in good standing. A copy of my
   resume is attached as Exhibit A. I have primarily served as a lawyer,
   administrator, and policy person, so I have no academic publications within the
   last 10 years.

   II. Executive Summary

   5. The key conclusions of this report are:

   ➢ The MDOC uses actuarial assessment instruments to measure offender risk,
     and then uses evidence-based practices to narrowly tailor parole and
     probation conditions based on offender risk level and individual needs. The
     MDOC not only targets interventions to high-risk offenders, but also
     minimizes interventions to low-risk offenders, because research shows that
     intensive supervision of low-risk offenders is counter-productive. By
     contrast, the requirements of the Sex Offenders Registration Act (SORA) are
     applied indiscriminately to all registrants, regardless of risk level or
     individual circumstances.

   ➢ SORA undermines the MDOC’s use of evidence-based correctional
     practices because it imposes virtually identical requirements on all
     registrants regardless of risk level; it requires extensive and potentially
     counterproductive interventions for low-risk offenders; and it significantly
     limits employment opportunities, access to housing, and family



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      reunification, which are critical to offender success upon release, for all
      offenders.

   ➢ SORA is both similar to and different from regular parole/probation
     supervision in that both systems require regular reporting, but (a) SORA
     requires more information to be reported in shorter time periods; (b) SORA
     automatically imposes restrictions that the MDOC (or probation offices)
     impose on parolees/probationers only on an individualized basis; (c) SORA
     requirements apply for a minimum of 15 years to life, with most registrants
     subject to SORA for life, while parole restrictions typically last two years
     and probation restrictions are typically similarly short and/or are individually
     tailored; (d) SORA requirements do not decrease over time and cannot be
     contested, whereas parole/ probation conditions are frequently relaxed
     during the course of supervision and can be challenged through MDOC
     grievance procedures; (e) a violation of SORA can result in a term of
     incarceration up to ten years, whereas the length of incarceration resulting
     from a violation of probation or parole is capped at the length of the under-
     lying sentence (and is often relatively short), and (f) unlike probation and
     parole, SORA has no provision to work with victims or with registrants’
     family members (who often are victims as well), or with registrants’ land-
     lords, employers, etc., to help registrants successfully reintegrate into
     society.

   ➢ Parole and probation agents charged with supervising parolees/probationers
     who are also subject to sex offender registration have great difficulty
     interpreting and applying SORA because the statute is so vague. The
     interpretation of enforcing agencies has varied greatly from jurisdiction to
     jurisdiction.

  Each of these conclusions is addressed and supported in the sections below.

  III. The MDOC Uses Evidence-Based Practices and Risk Assessments to
       Improve Outcomes for Parolees and Probationers

   6. A vast body of research has been published over the past 20 years
   establishing that evidence-based practices work in reducing criminal behavior.
   In the correctional context, “evidence-based practices” mean organizing
   criminal justice interventions to promote rather than hinder the implementation
   of programs and services that are known to work in reducing criminal behavior.


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   Effective correctional interventions lead to reductions in risk and recidivism,
   and to improved outcomes for individuals under supervision, particularly when
   those interventions are targeted to those who are at higher risk and are focused
   on the individual’s specific criminogenic needs.

   7. In 2003, the National Institute of Corrections (NIC), in collaboration with
   the Crime and Justice Institute, assembled leading scholars and practitioners
   from the fields of criminal justice and corrections to define the core elements of
   evidence-based practices based on published research. The evidence-based
   principles identified by the NIC now form the basis for the MDOC’s interven-
   tions with offenders, and have been incorporated into the MDOC’s policies and
   practices for supervision of parolees and probationers.

   8. Since research has demonstrated that aligning the level of intervention with
   the level of risk produces the best outcomes, the starting point for evidence-
   based corrections is to assess an offender’s risk level. For supervision and
   case management strategies to be effective, they must be based upon an
   offender’s risk level. Higher intensity programs, services, supervision, and
   surveillance techniques are reserved for those assessed as higher risk.
   Research has consistently shown that lower risk offenders tend to
   recidivate at higher rates when interventions are over-delivered. Lower
   risk offenders may still require services such as housing, family reunification,
   or medical support to reduce their risk of re-offending. But offenders who are
   at low risk to re-offend are unlikely to benefit from interventions that are
   designed to change their behavior, and such interventions are often counter-
   productive.

   9. The MDOC uses empirically-based actuarial instruments to enable the
   Department and the parole board to assess each individual’s actual level of risk.
   At the recommendation of the Resource Team, the MDOC began using the
   Northpointe COMPAS risk assessment instrument in 2005 to measure pris-
   oners’ risks and needs, and to inform the parole board in the parole release
   decision-making process. The parole board also began using the Static-99 risk
   assessment instrument for assessing the likelihood of sex offenders to commit
   new sex offenses after release. These actuarial risk assessment tools are used
   because they have proven to have greater accuracy in predicting risk than either
   basing risk on the offense of conviction or basing risk on a parole or probation
   agent’s subjective assessments of the offender.



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   10. Actuarial instruments used to assess risk look at both static risk factors, i.e.,
   factors that cannot be changed, such as age and criminal history at the time of
   conviction, and dynamic risk factors, i.e., factors that change over time, such as
   current age, marital status, behavior, attitudinal changes, etc. Accordingly, not
   only may individuals with the same offense have very different risk levels, but
   individuals with more serious offenses may have lower risk levels than
   individuals with lesser offenses, especially as time passes.

   11. COMPAS is a dynamic instrument that employs evidence-based principles
   as a tool for creating treatment and supervision plans. COMPAS has demon-
   strated that by addressing the specific and defined criminogenic needs of
   individual offenders their risk for violence and recidivism can be reduced.
   “COMPAS Core” identifies risk and needs when an offender first begins
   serving his or her sentence. Programming is assigned by the MDOC to target
   those needs and to effect change in behavior given the prisoner’s specific
   characteristics.

   12. A “COMPAS Reentry” assessment is used by the MDOC prior to release
   consideration and during parole supervision to measure the effectiveness of
   programming and the impact of changes in circumstances specific to the
   offender in order to create a more accurate prediction for risk of violence and
   recidivism. COMPAS Reentry provides a statistically accurate prediction of an
   individual’s risk for engaging in further criminal behavior.

   III. The MDOC Uses Risk Assessments and Individualized Case
        Management Tools to Tailor Supervision Levels to the Needs of
        Individual Offenders

   13. Supervision for parolees and probationers is individually tailored to an
   offender’s actual risk and needs, and is based on actuarial risk assessments,
   including the COMPAS, and, for people with sex crimes, the Static-99 and the
   Vermont Assessment of Sex Offender Risk (VASOR). The COMPAS is an
   instrument that is designed to measure recidivism risk among people with past
   criminality generally, while the Static-99 and VASOR are specifically designed
   to measure risk among people with past sex offenses. Assessments specific to
   sex offenders are used to supplement re-offense predictions made in COMPAS
   which does not assess an offender’s current conviction.

   14. The MDOC uses multidisciplinary groups in the local community, called a
   case management team (CMT), to facilitate information-sharing and to inform

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   supervision decisions. The CMTs consist of parole/probation agents, treatment
   providers, law enforcement, polygraph examiners, and victim advocates. The
   MDOC’s collaborative case management approach recognizes that research
   “has proven that to have the greatest impact on recidivism, markedly different
   case management strategies must be employed based on the offender’s risk as
   judged by correctional risk assessments and aided by professional judgment.”
   Examples of the issues and decisions that may be the subject of CMT meetings
   include addition or deletion of specific parole/probation conditions and
   sanctions for rule violations.

   15. The number and type of required contacts between offenders on community
   supervision and their agents has changed with the implementation of collabor-
   ative case management. Historically, parolees and probationers were required
   to report in person at least monthly to the agent’s office. Agents were also
   required to conduct at least monthly home calls to the offender’s residence.
   Current case management standards no longer require in-person monthly
   reporting for all offenders, regardless of their risk. Rather, the frequency
   and nature of reporting (e.g., in person, by phone, by mail) are determined
   by the offender’s assigned level of supervision. The standards recognize that
   effective case management may require “sporadic differences in the numbers
   and types of contacts required over a period of time.” In-person contacts with
   offenders may therefore occur outside of the office, including at the offender’s
   home, place of employment, and during CMT meetings. Depending on the
   level of supervision, some parolees and probationers can use the phone, mail, or
   email to contact their agents and/or to report changes.

   16. The offender’s score on risk assessment instruments also determines the
   frequency of CMT meetings. In-person meetings are staffed for moderate and
   high-risk offenders every 6 to 8 months during the period of parole or
   probation. CMT meetings for offenders who score low risk may be conducted
   by email or in-person, as needed. The MDOC Uses Risk Assessments and
   Individualized Case Management.

   IV. Tools to Tailor Parole/Probation Conditions to the Needs of Individual
       Offenders

   17. Michigan Administrative Rule 791.7730 requires that parole orders contain
   conditions that are reasonably necessary to assist a parolee to lead a law-abiding
   life. Further, the rule requires there to be a reasonable relationship between


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   parole conditions and both the prisoner’s previous conduct and present capabil-
   ities. Since the adoption of evidence-based principles within the Department,
   the parole board uses risk assessment instruments to identify appropriate special
   conditions based on a prisoner’s specific risks and needs. Probation agents are
   also guided by risk assessments in recommending probation conditions to be
   imposed by the sentencing court.

   18. The Parole Board and probation agents thus strive to narrowly tailor
   the special conditions of supervision to the individual circumstances of
   each prisoner with the goal of ensuring the success of the offender and the
   protection of the public while the offender is under community supervision.
   For example, unless an offender was sentenced for an offense involving use of
   an automobile, the parole board or sentencing courts generally do not impose
   special conditions prohibiting or restricting driving.

   19. Conditions can be chosen off a “menu” of standardized special conditions.
   For example, the parole board routinely imposes a restriction on computer use
   for parolees whose crimes involved computers. Conditions can also be individ-
   ually drafted for the specific offender. For example, in domestic violence cases,
   a special condition may prohibit the parolee from going within 1000 feet of the
   victim’s home. Agents have the authority and discretion to recommend the
   addition or removal of special conditions during the period of supervision, and
   several of the conditions are drafted to enable the agent to grant permission for
   otherwise prohibited behavior – again tailored to the individual parolee.

   V. SORA Undermines Evidence-Based Correctional Practices

   20. Michigan’s parole and probation supervision process, with its use of empir-
   ically validated risk assessments, stands in stark contrast to the offense-based
   classification system required by SORA. The current system under SORA fails
   to distinguish between registered offenders who present significant threats to
   public safety and those who present little or no risk. Registration under SORA
   is determined solely by reference to the original offense committed (no matter
   how old the offense may be).

   21. The fact that parolees and probationers with sex offenses are subject to
   SORA creates challenges for the MDOC’s efforts to use evidence-based
   correctional practices with this population. First, SORA imposes virtually
   identical reporting and other requirements on almost all registrants; that
   is, it treats everyone on the registry as if they were at equal risk of

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   reoffending. This approach breeds universal hysteria about sex offenders by
   inaccurately branding them all as intolerably dangerous, and furthers the
   isolation of offenders. Under the previous version of SORA, to the extent that
   the public considered tier classifications as indicating risk levels, the public
   registry served to mislead the community as to the true risks, since tier classi-
   fications are based not on risk assessments but solely on offense classifications,
   which are poor measures of the risk of re-offending. The new SORA may be
   worse, because by not listing registrants’ tier levels, it conveys the message that
   all registrants are equally dangerous.

   22. Second, evidence-based research shows that correctional interventions
   are counterproductive when applied to low-risk individuals. Yet the
   MDOC is forced to ensure compliance with SORA, and the extensive require-
   ments it imposes, even for low-risk offenders, and even though doing so
   undermines the MDOC’s efforts to implement evidence-based policies and
   procedures.

   23. Third, the expanded registration and community notification policies
   can significantly hamper reintegration efforts. A primary goal for CMTs is
   to ensure that parolees/probationers have stable housing and employment, since
   these are strongly correlated with offender success. By putting people on a
   public registry when they pose little or no risk of reoffending, SORA makes the
   CMTs’ task much more difficult.

   24. Fourth, SORA also conflicts with the MDOC’s use of evidence-based
   principles with respect to reunifying families and developing a strong
   community support network with non-offending partners, family
   members, and other persons – all factors that are also strongly correlated
   with offender success. The MDOC’s supervision strategies are based on
   research documenting that “family, peer, and community support have a greater
   direct effect on offender behavior than formal social controls imposed by law
   enforcement and correctional supervision.” MDOC parole and probation agents
   are therefore required to “work to build productive relationships with the offen-
   der’s social support network,” and the Department recognizes that “identifying
   appropriate family and non-family social supports with whom the offender may
   associate during supervision is important not only to the offender’s success, but
   in enhancing public safety.” A “goal in supervising moderate and high risk
   offenders is to assist them in strengthening relationships with their families and
   pro-social community supports.” Unfortunately, SORA requirements place
   undue public scrutiny and stigma on the families of offenders. The public

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   registry makes it especially difficult on families, particularly when a family is
   forced either to live apart due to SORA’s publication of residency information
   (which can lead landlords to refuse to allow registrants on a lease), or to
   relocate, which can involve uprooting children from their established
   environments.

   25. Due in large part to the need to ensure compliance with SORA and other
   statutory obligations for people with sex offense convictions, parolees and
   probationers who must register are initially placed at the maximum level of
   supervision, regardless of their actual risk level, which creates a burden for
   MDOC agents. By contrast, other parolees/probationers generally have their
   risk and reporting levels determined by a COMPAS assessment, although
   agents and CMTs can reassess risk and reassign risk levels with supervisor
   approval to accommodate the needs and circumstances of the specific parolee.

   VI. Comparing SORA Requirements with Parole/Probation Supervision
       Requirements

   26. If one compares the requirements imposed on registrants under SORA with
   those imposed on offenders as part of parole/probation, there are both signifi-
   cant similarities and significant differences.

   27. First, both systems require regular reporting of information to super-
   vising authorities. SORA registrants, however, are required to report a
   great deal more information (e.g., vehicles, internet identifiers) that the
   MDOC does not require parolees and probationers to report. Even where
   the same information is required, the time frames for reporting are much
   more onerous under SORA. For example, under SORA a registrant must
   report a new job in person to SORA authorities within 3 days, but could wait to
   report that same job to his/her parole agent until the next scheduled meeting
   with the agent, or could report it by phone.

   28. Second, as discussed above, the MDOC seeks to tailor parole and
   probation requirements to the individual’s needs and risk level, whereas
   SORA imposes requirements without any consideration of the registrant’s
   needs or risk level. All registrants must report the same information (with a
   minor exception for pre-2011 registrants who no longer need to report internet
   identifiers due to court decisions holding that provision to be unconstitutional).



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   29. Third, the requirements under SORA apply to registrants for periods
   ranging from 15 years to life. By contrast, most periods of parole super-
   vision will end after 2 years with satisfactory adjustment. Indeed, in recent
   years the MDOC has shortened parole terms and accelerated discharge dates for
   low-risk parolees, absent statutory provisions to the contrary.

   30. Fourth, SORA requirements do not decrease over time, and there is no
   procedure under SORA for an offender to challenge his/her tier classifica-
   tion, reporting requirements, public notification requirements, etc. By
   contrast, parole/probation agents constantly review conditions of super-
   vision, and typically relax conditions over time for offenders who are
   successfully reintegrating into the community. Moreover, offenders on
   parole supervision or probation can contest the conditions of their supervision
   under the established grievance procedures within the MDOC.

   31. Fifth, a violation of SORA can result in prison terms of up to ten years,
   while the incarceration resulting from a probation or parole violation is
   capped at the length of the underlying offense. For example, if a person who
   was sentenced to probation on a one-year misdemeanor violates probation, that
   person cannot be incarcerated for more than a year. By contrast, a person who
   violates SORA faces sentences of four years for a first offense, seven years for
   a second offense, and ten years for a third offense. M.C.L. § 28.729(1)

   32. Finally, other than the publication of offense information through the
   public registry, there is no mechanism in SORA for involving victims or
   employers. By contrast, the parole and probation process considers the
   interests of victims (who in sex offense cases may be partners or family
   members of the offender) and collaborates with relevant partners in the
   community, including employers, during the period of an offender’s super-
   vision. To the extent that is possible to do so, agents must share information
   with the offender’s family or social supports throughout the period of super-
   vision. It is the agent’s responsibility to educate the support network and to
   ensure they are aware of the nature of the offense, supervision, and SORA
   requirements, and the importance of protecting victim’s interests. In addition,
   members of the sex offender CMTs are encouraged to “seek out public
   education opportunities in their communities to assist with educating
   employers, landlords, and faith-based groups on sex offender topics.”

   VII. SORA’s Vagueness Makes It Difficult for MDOC Agents to Ensure
        Compliance with SORA

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   33. All parolees and probationers who are subject to SORA have a parole/pro-
   bation condition requiring them to comply with SORA, and parole/probation
   agents work with offenders and their families to try to achieve compliance. But
   many of the SORA requirements are vague enough that MDOC agents
   themselves cannot know which behaviors violate the Act. These are issues
   that are often the subject of discussion at local CMT meetings. Although law
   enforcement representatives are included as team members on CMTs, the
   interpretations reached often vary from one case management team to the next.

   34. As the MDOC’s Legal Affairs Administrator, my role was to assist depart-
   ment managers in the interpretation of legal requirements for guidance to field
   staff. Sometimes these legal questions were raised proactively, and at other
   times they came up in determining whether a parole/probation violation had
   occurred (since it is a violation of probation/parole to be non-compliant with
   SORA). any of the questions raised by field staff could not be appropriately
   answered because of the lack of adequate definition or guidance within SORA
   itself. While the new SORA 2021 requires violations to be willful, it does not
   address the underlying problems of complexity and vagueness when it comes to
   advising parolees or probationers (or agents) as to what the law requires.

   35. In my experience, the interpretation of SORA varies significantly from
   jurisdiction to jurisdiction, meaning that – to avoid criminal prosecution
   for non-compliance – registrants must rely on the varying interpretations
   of prosecutors and courts across the state. There are no mechanisms in
   place, however, to ensure that offenders are made aware of the interpretations
   of their local prosecutors and courts as to what constitutes violations of SORA.
   When I was the Legal Affairs Administrator, law enforcement officials
   explained to me on more than one occasion that a violation is something you
   know when you see it. While that may be true depending on the case, such a
   subjective interpretation by law enforcement does not provide adequate notice
   of prohibited behavior to the offender who is subject to SORA’s requirements.

   36. Confusion about the meaning of SORA also leads to situations where
   MDOC agents inform parolees/probationers that some conduct is permis-
   sible, only to find that prosecutors or law enforcement agencies disagree.
   For example, I was involved in several cases as the Legal Affairs Administrator
   where parole agents had authorized parolees to attend their children’s school
   sporting events, only to have the registrants charged by local prosecutors for
   violating SORA.

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   37. The MDOC has established “sex offender specific” caseloads for probation
   and parole agents who specialize in the supervision of sex offenders and the
   technical requirements of SORA. But even with intensive supervision, SORA’s
   complexity and vagueness all but guarantee that parolees and probationers will
   still be unsure about what they can and cannot do. And to my knowledge, no
   similar orientation was provided to registrants who completed their sentences
   before the major amendments to SORA that passed in 2011 and that are carried
   over into SORA 2021, nor does the MDOC or any other agency provide guid-
   ance about the meaning of SORA to registrants who are no longer on parole or
   probation but who remain subject to the amended act.

   Conclusion

   As set forth in the Executive Summary above, based on my experience, I
   believe that Michigan’s SORA creates a monitoring and supervision regime that
   is in some ways more onerous, and far longer-lasting, than criminal probation
   and parole, especially for the great majority of registrants who are at lower risk
   of re-offending sexually. SORA also undermines core tenets of the MDOC’s
   mission because it is not evidence-based, and it hinders rather than promotes
   registrants’ successful re-entry and reintegration into society, for decades or for
   life. SORA also creates burdens for parole and probation staff with no corre-
   sponding benefit for the MDOC, for local law enforcement, for registrants, or
   for community safety.

   Statement Regarding Prior Expert Testimony

   Over the years, I have testified at trial or in deposition or submitted a report to
   the court as an expert in the following cases:

   John Does 8–10 v. Rick Snyder, et al, (USDC-ED 2:17-cv-11181)
   Does et al v. MDOC et al, 22nd Circuit Court 13-1196-CZ and 15-1006-CZ
   Hill v. Snyder, et al (USDC ED 5:10-cv-14568)
   Iswed v. Caruso, et al., USDC-WD 1:08-cv-1118
   Hoffman v. Rutter, et al., USDC-WD 2:10-cv-26
   People v. Yengling, 18th Circuit Court 10-11079-FC
   John Does #1-5 and Mary Doe v Richard Snyder, et al, Case No. 2:12-cv-1119
   People v. Nelson, 17th Circuit Court, 10-09966-FH, 11-05158 FH
   People v. Zuniga, 17th Circuit Court, 10-00280-FC
   People v. Antonio Espree 22nd Circuit Court 88-22318-FC

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   Garvins v. Hofbauer, et al, USDC-WD 2:09-cv-4
   Hill, et al v. Snyder, et al, USDC-ED 10-cv-14568
   Suciu v. Washington, et al, USDC-ED 2:12-cv-12315
   Muthana v. Heyns, et al, USDC-WD 2:11-cv-132
   McNeal v. Kott, et al, 2:11-cv-78
   Selby v. Caruso, et al, 2:09-cv-152
   John Doe #1, et al v. MDOC, et al, 2:13-cv-14356
   People v. Alexis Ayala, Macomb Circuit Court 91-0663-FC
   People v. John Atkins, Oakland Circuit Court 89-95782-FC
   People v. Christopher Machacek, Washtenaw Circuit Court 87-21575-FC
   People v. Jeremy Longerbeam, Lapeer Circuit Court 92-4666-FC
   People v. Richard Simmons, Lake Circuit Court 86-2451-FC
   People v. Willie Servant, 91-02558-FC
   People v. Mark Storey, Wayne Circuit Court 85-7676-01-FC
   People v. Gary Peters, 16th Circuit Court 78-0353-FC
   People v. Jerry Lashuay, 42nd Circuit Court 83-4623-FC
   People v. Sheldry Topp, 3rd Circuit Court 62-20237-FC
   People v. John Bennett, 6th Circuit 72-55257-FC
   People v. Kenneth Williams, Oakland Circuit Court 74-21183-FC
   People v. Ronnie Waters, Oakland Circuit Court 80-45437-FC
   People v. Scott Davis, Oakland Circuit Court 80-46614-FC
   People v. Donald Williams, Oakland Circuit Court 93-1791-FC
   People v. Timothy Clark, Oakland Circuit Court 74-20672-FC
   People v. Ronald Tolbert, Wayne Circuit Court 81-03043-FC
   People v. Ervin Jennings, Wayne Circuit 92-01949-FC
   People v. Nathaniel Gilbert, Macomb CC 06-0173-FC
   People v. Victor Waterford, Wayne Circuit Court 90-13736-01-FC
   People v. Kenneth Anderson, Wayne Circuit Court 90-6515-FC
   People v. Leeclifton Moore, Kent Circuit Court 05-09552-FC
   People v. James Taylor, 6th Circuit Court 88-87133-FC
   People v. William Neilly, Kalamazoo Circuit Court 93-0756-FC
   People v. Darnell Johnson, Macomb Circuit Court 97-9134-FC
   People v. Nathan Bell, Genesee Circuit Court 97-0553-FC
   People v. Devon Wyrick, Kalamazoo Circuit Court 96-0169-FC
   People v. Clinton Cheeks, Wayne Circuit Court 93-11580-FC
   People v. Antonio Payne, Macomb Circuit Court 93-2682-FC
   People v. Jenard Sharp, Wayne Circuit Court 93-7172-FC
   People v. Damon Jackson, Kent Circuit Court 00-05206-FC
   People v. Deonte Howard, Wayne Circuit Court 10-05562-FC
   People v. Charles Porter, Jackson Circuit Court 84-35221-FC

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   People v. Christopher Tobar, Berrien County Circuit Court 93-0490-FC
   People v. William Garrison, Wayne Circuit Court 76-02815-FC
   People v. John Espie, Shiawasee Circuit Court 99-02999-FC

   People v. Daniel Wheeler, Shiawasee 70-3957-MJS-FC
   People v. Agustin Pena, Macomb Circuit Court 90-1535-FC
   People v. William Hodge, Wayne Circuit Court 80-04667-FC
   People v. Tommie Richards, Berrien Circuit Court 87-01623-FC
   People v. Ronald Hammond, Shiawasee Circuit Court 86-5672-FY
   People v. Charles Lewis, Wayne Circuit Court 76-05890-FC
   People v. Mark Abbatoy, Berrien Circuit Court 97-403846-FC
   People v. Dennis Watson, Wayne Circuit Court 85-04346-FC
   People v. Robert Leamon, Cass Circuit Court 98-8555-FC
   People v. Stanley Fowle, Jackson Circuit Court 93-66611-FC
   People v. Jeffrey Seay, Eaton Circuit Court 97-020162-FC
   People v. Jamar Johnson, Oakland Circuit Court 84-20672-FC

   Statement Regarding Compensation

   My hourly rate of compensation for consultation, report writing, and testimony
   is $150 per hour. In this instance, I have agreed to provide this report pro bono.

Pursuant to 28 U.S.C. § 1746, I state under penalty of perjury that the above
statements are true and correct to the best of my knowledge, information, and
belief.



                                ____________________
                                Richard B. Stapleton

                                Dated: December 3, 2021




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                        Attachment 1:
              C.V. of Richard B. Stapleton
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                             C.V. OF RICHARD B. STAPLETON
                                     16346 Wacousta Rd.
                                   Grand Ledge, MI 48837
                           517-627-4704 - rbstapleton@hotmail.com

 EMPLOYMENT :

                       Associate Director
                       Citizens Alliance on Prisons and Public Spending
                       403 Seymour Ave., Suite 200
                       Lansing, MI 48993
                       517-482-7753
                       September, 2011 – June 2012

                       Director, Board of Directors (volunteer position)
                       2013 - 2018

The Citizens Alliance on Prisons and Public Spending (CAPPS), a non-profit public policy organ-
ization, is concerned about Michigan’s excessive use of punitive strategies rather than preventive
ones to deal with crime and its impact on the quality of life for all Michigan citizens. Associate
Director responsibilities included informing policymakers, advocacy groups, affected commun-
ities and the general public about these issues through public speaking appearances, newsletters,
and development of research reports.

                       Administrator, Office of Legal Affairs
                       Michigan Department of Corrections
                       (517) 373-0450
                       2005 – June, 2011 (Retired)

Overall management of the department’s litigation, prisoner grievance, prisoner discipline, free-
dom of information, and policy development operations. Position functioned as chief legal coun-
sel within the department for developing litigation strategies and coordinating the activities of the
Department of Attorney General in defending the department in the state and federal courts.
Reviewed all case law and legislation that impacted the department’s operations and facilitated the
development of statewide implementation strategies for programs, policies, and staff training.
Advised executive management staff and consulted with facility wardens on policy objectives and
strategies for avoiding litigation. Served as chairperson for the department’s Policy Review and
Post- Incident Review committees.

      Achievements:
          • Chairperson (2003-10), Michigan Prisoner ReEntry Initiative (MPRI) “Re-
          source Team”. The Resource Team was a committee of MDOC administrators
          representing custody, field, and operations support staff who, with technical
          support and assistance from the National Governor’s Association (NGA) and
          the National Institute of Corrections (NIC), were charged with developing and

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          implementing a comprehensive model of prisoner transition planning. The
          MPRI’s mission is to reduce crime by implementing a seamless plan of services
          and supervision developed with each offender—delivered through state and
          local collaboration— from the time of their entry to prison through their tran-
          sition, reintegration, and aftercare in the community. The MPRI is credited
          with reducing Michigan’s prison population by 7,500 prisoners while at the
          same time reducing the return to prison rate by 33%.

      •   Designed revisions to the MDOC prisoner disciplinary process and facilitated
          successful implementation in November, 2010. The process in place for over
          30 years required attorney hearing officers to conduct approximately 85,000
          major misconduct hearings year. The revised process created three levels of
          misconduct (Class I, II, and III). Class II misconducts, comprising 70% of
          previously defined major misconducts and appealable to the state circuit courts,
          are now heard by custody shift commanders and may be appealed only to the
          facility level. Conducted statewide due process training for all shift command-
          ers.

      •   Primary liaison with court appointed monitors in the class action lawsuit
          entitled, Michigan Protection and Advocacy Services (MPAS) v. Caruso.
          Facilitated settlement agreement in the U.S. District Court and implemented
          revisions to MDOC policies involving the screening, identification and appro-
          priate classification of mentally ill prisoners.

      •   Facilitated development of a Segregation Incentive Program within the Depart-
          ment’s maximum security prisons designed to transition long term segregation
          prisoners back to general population. The program is structured to provide
          prisoners the opportunity to experience progressive success and rewards for
          small improvements in behavior, as well as providing staff with meaningful
          consequences when inmates behave inappropriately. Lengths of stay in segre-
          gation and rates of misconduct have been significantly reduced.

      •   Facilitated the MDOC’s response and policy development consistent with stan-
          dards proposed for the Prison Rape Elimination Act (PREA).

      •   Department policy liaison for class action lawsuits, including Bazetta v. Over-
          ton, Hadix v. Caruso, MPAS v. Caruso and Cain v. Department of Corrections.

      •   Oversaw development of an electronic document system for Department-wide
          distribution and retention of policies and procedures.

      Memberships:
      • Chief Information and Privacy Officer, State of Michigan Information and Priv-
        acy Council.


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       •   MDOC Regulatory Affairs Officer, State Office of Administrative Hearings and
           Rules.
       •   MDOC Post-Incident Review Committee, chairperson.
       •   MDOC Shoot Review Committee, member.
       •   MDOC Policy Review Committee, chairperson.
       •   MDOC ReEntry Implementation Resource Team, chairperson.
       •   State Bar of Michigan Prison and Corrections Section, MDOC representative
           and elected council member.
       •   Criminal Justice Information Systems Policy Council, MDOC Representative.
       •   Michigan Judicial Institute, Faculty - New Judges Seminars.
       •   State Court Administrator’s Office, Evidence-Based Sentencing Committee

                       Administrator, Office of Policy and Hearings
                       Michigan Department of Corrections, 1993 – 2005

Managed department-wide policy development and policy operations, issued policy directives and
facilitated the promulgation of administrative rules. Overall responsibility for the department’s
prisoner disciplinary process. Conducted routine training of wardens and facility staff on prisoner
discipline. Directed and supervised attorney level administrative law examiners who conduct for-
mal administrative hearings in correctional facilities pursuant to the Corrections Hearings Act
(MCL 791.251, et seq.). Issued final agency decisions and rehearing orders in response to appeals
submitted by prisoners and wardens.

                      Assistant for Rehearings and Rules, Hearings Division
                      Michigan Department of Corrections, 1988 – 1993

Reviewed and decided prisoner and warden appeals of formal administrative hearing decisions in
behalf of the Hearings Administrator. Drafted and promulgated Department of Corrections’
administrative rules pursuant to MCL 24.231 et seq. at the direction of the Administrator.

Prior MDOC positions:
Administrative Law Examiner, 1987 – 1988
Parole / Probation Officer, 1978 - 1987
Corrections Officer, 1977 - 1978


EDUCATION:            Juris Doctor, Michigan State University College of Law, 1986 BS
                      Criminal Justice, Wayne State University, 1977

 Emeritus Status, State Bar of Michigan P# 38793




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